861 F.2d 264Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.David Lee KEENAN, Petitioner-Appellant,v.William D. LEEKE;  Attorney General of South Carolina,Respondents-Appellees.
    No. 88-7632.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  July 26, 1988.Decided:  Oct. 20, 1988.
    
      Vance L. Cowden (University of South Carolina Law School), for appellant.
      Donald John Zelenka (Office of the Attorney General of South Carolina), for appellees.
      Before CHAPMAN and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      David Lee Keenan seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Keenan v. Leeke, CA-85-2069 (D.S.C. April 1, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    